       Case: 3:18-cv-00797-jdp Document #: 145 Filed: 06/08/21 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN


 EQUAL EMPLOYMENT
 OPPORTUNITY COMMISSION,

                             Plaintiff,                                 ORDER
        v.
                                                                     18-cv-797-jdp
 ROCKAUTO, LLC,

                             Defendant.


       In accordance with the court’s pretrial conference order, Dkt. 133, plaintiff Equal

Employment Opportunity Commission submitted a revised exhibit list, including a revised set

of proposed comparators. Dkt. 135. Defendant RockAuto, LLC objected to several of the

comparators. Dkt. 140. On June 7, the court sustained RockAuto’s objections to Leif

Engebretsen, Henry Smith, Hope Smith, Mohamed Sawan, and Nicholas Bartling. The court

overruled RockAuto’s objections to Alison Widner, Philip Davidar, John Forest Johanneson,

Cameron Schade, Dan DeLongchamp, and Devante Johnson.

       The court reserved a ruling on Emily “Mimi” Mei. After consideration, the court will

allow EEOC to introduce the email from Nate Rehberg describing Mei as “young in her career.”

Ex. 11, at 14. Consistent with the court’s prior ruling on EEOC’s motion in limine No. 5,

Dkt. 110, at 4, the email is not a stray remark, because Rehberg was involved in the hiring

process and his email was among the information considered in the hiring process. For purposes

of trial, Mei is no longer a comparator because she did not receive a discretionary pass. But

EEOC has consistently proffered Mei as a comparator, so there is no unfair surprise to
       Case: 3:18-cv-00797-jdp Document #: 145 Filed: 06/08/21 Page 2 of 2




RockAuto in introducing the Rehberg email. For completeness, the other documents reflecting

the assessment of Mei during the hiring process are also admissible.

       Entered June 8, 2021.

                                           BY THE COURT:

                                           /s/
                                           ________________________________________
                                           JAMES D. PETERSON
                                           District Judge




                                              2
